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 3   Telephone: (916) 444-8663
 4   Attorney for Defendant
     ANDREY ANDREYEV
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 7
 8                       UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,         )      Case No. 2:12-cr-00069 JAM
                                       )
13                   Plaintiff,        )      STIPULATION REGARDING
                                       )      EXCLUDABLE TIME PERIODS UNDER
14             v.                      )      SPEEDY TRIAL ACT;FINDINGS AND
                                       )      ORDER
15   ANDREY ANDREYEV,                  )
                                       )
16                   Defendant.        )
                                       )
17                                     )
18
19        Plaintiff United States of America, by and through its
20   counsel of record, and defendants, Andrey Andreyev and Vitaliy
21   Andreyev, by and through their counsel of record, hereby
22   stipulate as follows:
23        1.   By previous order, this matter was set for status on
24   January 8, 2013.
25        2.   By this stipulation, defendants now move to continue
26   the status conference until February 5, 2013, and to exclude time
27   between January 8, 2013 and February 5, 2013 under Local Code T4.
28   Plaintiff does not oppose this request.
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 1        3.   The parties agree and stipulate, and request that the
 2   Court find the following:
 3        a.   The discovery associated with this case includes
 4             voluminous records, including mortgage and bank records
 5             involving multiple transactions.        All of this discovery
 6             has been either produced directly to counsel and/or
 7             made available for inspection and copying, and/or will
 8             be made available.
 9        b.   Counsel for defendants desire additional time to review
10             these materials, discuss the materials with their
11             clients, and assess the potential sentencing
12             ramifications of the materials.
13        c.   The government has provided proposed plea agreements to
14             defense counsel.     Defense counsel are going over the
15             plea agreements with their clients.        The parties hope
16             to have the case resolved by the next status
17             conference.
18        d.   Both defense counsel are currently in a lengthy trial
19             in Butte County in a case stemming from the death of a
20             child.
21        e.   Counsel for defendants believe that failure to grant
22             the above-requested continuance would deny them the
23             reasonable time necessary for effective preparation,
24             taking into account the exercise of due diligence.
25        f.   The government does not object to the continuance.
26        g.   Based on the above-stated findings, the ends of justice
27
28                                      2
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 1               served by continuing the case as requested outweigh the
 2               interest of the public and the defendant in a trial
 3               within the original date prescribed by the Speedy Trial
 4               Act.
 5        h.     For the purpose of computing time under the Speedy
 6               Trial Act, 18 U.S.C. § 3161, et seq., within which
 7               trial must commence, the time period of January 8, 2013
 8               to February 5, 2013, inclusive, is deemed excludable
 9               pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
10               T4] because it results from a continuance granted by
11               the Court at defendant’s request on the basis of the
12               Court's finding that the ends of justice served by
13               taking such action outweigh the best interest of the
14               public and the defendant in a speedy trial.
15        4.     Nothing in this stipulation and order shall preclude a
16   finding that other provisions of the Speedy Trial Act dictate
17   that additional time periods are excludable from the period
18   within which a trial must commence.
19   IT IS SO STIPULATED.
20
21   DATED:      January 7, 2013.
22
                                   /s/ Steven Lapham
23                                 STEVEN LAPHAM
                                   Assistant United States Attorney
24
25   / / /
26   / / /
27
28                                         3
              Case 2:12-cr-00069-JAM Document 31 Filed 01/08/13 Page 4 of 5


 1   DATED:      January 7, 2013.
 2
                                   /s/ Victor Haltom
 3                                 VICTOR HALTOM
                                   Counsel for Defendant A. Andreyev
 4
 5   DATED:      January 7, 2013.
 6
                                   /s/ John R. Duree, Jr.
 7                                 JOHN R. DUREE, JR.
                                   Counsel for Defendant V. Andreyev
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 1                                  O R D E R
 2        IT IS SO FOUND AND ORDERED this 7th day of January,
     2013.
 3
 4                              /s/ John A. Mendez                 ___
                                UNITED STATES DISTRICT COURT JUDGE
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